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                      Exhibit 40
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                                  No. 12-1485

               In the Supreme Court of the United States

                                 ARAB BANK, PLC,
                                                               Petitioner,
                                            v.
                             COURTNEY LINDE, ET AL.,
                                                             Respondents.


                    On Petition for a Writ of Certiorari to
                     the United States Court of Appeals
                           for the Second Circuit


                      REPLY BRIEF FOR PETITIONER



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                      REPLY BRIEF FOR PETITIONER
                   The district court imposed draconian sanctions
               on Arab Bank for refusing to produce personal cus-
               tomer account information where disclosure would
               violate the criminal laws of Jordan, Lebanon, and the
               Palestinian Territories. We have shown that those
               outcome-determinative sanctions offend interna-
               tional comity and due process, conflict starkly with
               decisions of this Court and other courts of appeals,
               and satisfy the requirements for mandamus, collat-
               eral order review, and certiorari. The Kingdom of
               Jordan—“a critical U.S. ally” taking the “unprece-
               dented step” of filing a brief in this Court—has ex-
               plained its “profound interest” in preserving its sov-
               ereign right to enforce Jordanian banking law and
               warned of “grave consequences” if this Court does not
               intervene. A sanctions-induced judgment against
               Arab Bank, Jordan explains, would “destabiliz[e]”
               the “economies of Jordan and surrounding coun-
               tries,” disrupt efforts “to broker peace in the Middle
               East,” and “seriously undermine the international
               community’s anti-money laundering and anti-
               terrorism efforts,” in which the Bank plays “a pivotal
               role.” Amicus Union of Arab Banks has described the
               stringent financial privacy laws that govern its 340
               members and the dire consequences if U.S. courts
               order banks to violate them.
                   Plaintiffs respond that the Bank could comply
               with orders to disclose these records to private U.S.
               plaintiffs without fear of prosecution. But the
               Lebanese and Jordanian governments say that they
               will “institut[e] legal action against Arab Bank and
               its employees if it attempts to comply with the
               discovery orders.” Pet. App. 244a; see Jordan Br. 13.
               It is no contradiction that the Bank disclosed to
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               plaintiffs records previously provided to U.S. officials
               with permission and under mutual aid treaties
               (Jordan Br. 12-13), for it did so with the consent of
               its regulators (as plaintiffs well know).
                   Plaintiffs deny that the sanctions prevent Arab
               Bank from defending itself. But the trial court
               recognized that the sanctions have “very severe con-
               sequences” that “mak[e] it very difficult to defend the
               case,” in which plaintiffs demand hundreds of mil-
               lions of dollars in trebled damages and threaten to
               make the Bank responsible for every terrorist attack
               during the intifada. July 30, 2013 Hearing Tr. 21-22,
               37 (“Tr.”). Applying the sanctions, the court excluded
               all evidence of foreign laws, the Bank’s anti-
               terrorism practices, its closures of accounts of desig-
               nated terrorists, and USAID grants to the same or-
               ganizations that plaintiffs say were Hamas “fronts,”
               as well as a dozen key expert and fact witnesses.
               These rulings leave the Bank with no fair
               opportunity to rebut the inference that it “knowingly
               and purposefully” conducted business with terrorists.
               Pet. 3-4; Supp. 2-3. Plaintiffs have no answer to our
               showing that where foreign criminal law bars
               disclosure, such severe sanctions violate due process
               and international comity under this Court’s and
               other circuits’ decisions.1




               1 Because the district court has now dismissed plaintiffs’ ATS

               claims under Kiobel this Court need not address the second
               Question Presented. The first mass trial of hundreds of ATA
               claims arising from 24 separate terror attacks is now set for
               April 2014.
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                   A. The Bank’s Obedience To Foreign
                      Criminal Law Cannot Deprive It Of A
                      Meaningful Defense.
                   The sanctions deprive the Bank of a fair
               opportunity to defend against the “quasi-criminal”
               charge (Tr. 74) that it facilitated terrorism. Plaintiffs
               attempt to transform the key legal question—the
               propriety of draconian sanctions for complying with
               foreign criminal law—into a factual dispute. But the
               sanctions are erroneous as a matter of law because
               the dispositive fact is undisputed: the laws of Jordan,
               Lebanon, and the Palestinian Territories make
               disclosure of customer account records a criminal
               offense. See Jordan Br. 10; Pet. App. 244a-247a.
               Fundamental precepts of due process and comity
               forbid severe penalties for complying with foreign
               law. See Pet. 24-29.
                   1. Plaintiffs (at 16) call our description of the
               sanctions’ impact “overblown.” But the sanctions not
               only eliminate plaintiffs’ burden to prove that the
               Bank had a culpable state of mind, but also prevent
               the Bank from defending against that charge with
               meaningful evidence. As Judge Cogan (who replaced
               Judge Gershon) acknowledged, the sanctions make it
               “very difficult” for the Bank to make “any argument
               or offe[r] any evidence regarding its state of mind”
               unless it were “to produce the files” barred from
               production by foreign law. Tr. 21. He explained that
               the sanctions preclude any evidence that “shows
               what the bank does and why it does it” or “makes it
               less likely that [the Bank was] giving money to
               people [it] shouldn’t have been giving money to,” as
               well as any and all “circumstantial evidence of the
               intent of the bank.” Tr. 35, 37, 53.
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                   Plaintiffs (at 33) argue that “the jury is free to
               reject” the adverse inference. But when the jury is
               instructed that it may infer a culpable state of mind
               from the Bank’s withholding of documents—without
               being told that the Bank did so only because it would
               face criminal penalties if it produced them—it
               inevitably will treat the instruction as tantamount to
               a directed finding. “What the jury may infer, given
               no help from the court, is one thing. What it may
               infer when the court solemnizes the silence of the
               accused into evidence against him is quite another.”
               Griffin v. California, 380 U.S. 609, 614 (1965).
                   Plaintiffs (at 33-34) seek to justify the adverse
               inference on the ground that withheld documents
               likely would substantiate their claims. But the
               Magistrate Judge rejected that inference precisely
               because plaintiffs made “no showing that the
               withheld evidence would be likely to provide direct
               evidence of the knowledge and intent of the Bank.”
               Pet. App. 123a (emphasis added). Judge Weinstein,
               based on the same evidentiary record, found “no
               proof” that the Bank knowingly provided financial
               services to terrorists. See Pet. 29.
                   Plaintiffs point to documents suggesting that the
               Bank processed transactions for persons allegedly
               connected to Hamas. But they ignore large gaps be-
               tween the dates of those transactions and when
               those persons were designated as terrorists, as well
               as a large geographic disconnect between the trans-
               actions and the governing lists of designated
               terrorists. There is no logical basis for inferring
               knowing support for terrorism from the Bank’s pro-
               cessing of a handful of transactions for persons later
               or elsewhere designated as terrorists. A bank pro-
               cessing tens of millions of transactions must rely on
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              computer-implemented government lists to block
              transactions. The Bank pioneered computerized ap-
              plication of the U.S. government’s terrorist list in the
              Middle East and promptly closed any account once it
              learned that the holder was designated a terrorist.
              Nothing in the produced documents indicates other-
              wise, leading the Magistrate Judge to call the con-
              tents of the withheld documents “a subject of specu-
              lation.” Pet. App. 136a.
                  Plaintiffs say (at 35) that the preclusion sanction
              does not exclude “all evidence.” But that is like
              saying cutting off nine toes leaves the victim able to
              walk. The sanctions order is equally crippling. See
              Crane v. Kentucky, 476 U.S. 683, 690 (1986) (“Due
              Process” guarantees “‘a complete defense’”). State-of-
              mind is an essential element of plaintiffs’ ATA
              claims, yet the sanctions order precludes the Bank
              “from making any argument or offering any evidence
              regarding its state of mind or any other issue that
              would find proof or refutation in withheld
              documents.” Pet. App. 91a (emphasis added). The
              Bank cannot even present any evidence that “the
              withheld documents could disprove.” Id. at 95a
              (emphasis added). A jury cannot reach informed
              answers to the trial questions listed by plaintiffs (at
              2-4) if the Bank is precluded from providing any
              evidence that “could” address them.
                  2. Plaintiffs (at 38) dispute the Bank’s good faith
              in seeking a waiver of foreign law prohibitions. But
              Arab Bank “undertook a sustained effort to seek
              relief from those obligations,” including requests to
              the Jordanian courts and executive branch officials
              for permission to disclose protected financial records,
              all of which “were denied, in accordance with
              Jordan’s Banking Law.” Jordan Br. 13. Plaintiffs (at
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              38) blame the Bank for “years of delay,” but that
              delay resulted from plaintiffs’ own demands for
              documents subject to privacy laws and the Bank’s
              efforts to obtain disclosure waivers―in some cases
              successfully. The Magistrate Judge found that the
              Bank was “fairly quick” to act. A981. Courts may not
              penalize a party “for a failure to do that which it may
              not have been in its power to do.” Hammond
              Packing, 212 U.S. at 347. Nor may they ignore
              formal government statements that it is unlawful to
              produce these documents.
                  B. The Sanctions Order Conflicts With Due
                     Process And Comity Decisions Of This
                     Court And Other Circuits
                  1. Plaintiffs contend that Rogers approved broad
              district court discretion and involved a default judg-
              ment different from the sanction here. To the
              contrary, under Rogers this is an a fortiori case.
                  In Rogers, a Swiss plaintiff invoked federal court
              jurisdiction to recover property that the U.S. gov-
              ernment had seized after finding it “tainted” by
              plaintiff’s relationship with the Nazi regime. The
              U.S. sought discovery of Swiss banking documents
              that plaintiff controlled, which would show whether
              plaintiff could sustain its burden of proof. Plaintiff
              declined to produce them because disclosure was
              prohibited by “Swiss penal laws and consequently
              might lead to imposition of criminal sanctions.” 357
              U.S. at 200. The district court ordered dismissal as a
              sanction and the court of appeals unanimously af-
              firmed.
                  The Solicitor General in opposing certiorari
              argued—like respondents here—that the case
              involved the exercise of “sound judicial discretion”
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              and that the courts below had reasonably “weighed
              the various considerations which entered into the
              exercise of that discretion.” U.S. Br. in Opp., No. 348,
              at 8 n.6, 9 (filed Sept. 4, 1957). The U.S. also argued
              that “whatever impediments to production may have
              been interposed” by Swiss banking law, a plaintiff
              “seeking to avail itself of the processes of our courts”
              is “required, upon pain of default,” to permit the
              defendant “access to all of the underlying facts.” Id.
              at 8-9. This Court nonetheless granted certiorari and
              unanimously held that “fear of criminal prosecution”
              by “a foreign sovereign” is “a weighty excuse for
              nonproduction” and that a sanction that deprives the
              non-disclosing plaintiff of its day in court denies due
              process. 357 U.S. at 211-212.
                  In each relevant respect Arab Bank is more
              entitled to relief from the sanction than the Rogers
              plaintiff. Arab Bank did not invoke the jurisdiction of
              the district court like the Rogers plaintiff, but
              instead was haled into U.S. court by private claim-
              ants challenging foreign events. Sanctions that deny
              the Bank its day in court are no less injurious than
              the dismissal in Rogers. And the sanction here has
              far worse consequences; an adverse judgment would
              undermine the viability of an important ally’s
              leading financial institution and create economic and
              political instability in a volatile region. Jordan Br.
              17-19. If there was a violation of due process in
              Rogers, there is certainly one here.
                   2. This Court in Aérospatiale—far from endors-
              ing a chancellor’s-foot weighing approach (Opp. 18-
              19)—held that courts must “demonstrate due respect
              for any special problem confronted by the foreign
              litigant” and “for any sovereign interest expressed by
              a foreign state.” 482 U.S. at 546. Mouthing respect,
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              while deeming these interests outweighed by plain-
              tiffs’ tactical demand for more customer records, does
              not satisfy this requirement. If the violation of for-
              eign financial privacy laws ordered here, the formal
              statements of foreign governments that the Bank
              will be criminally prosecuted, and the explanations
              by three sovereign governments of their interests are
              not enough to garner judicial “respect,” then nothing
              is: “weighing” will always tip in favor of sanctions
              and this Court’s decisions in Rogers and Aérospatiale
              will be meaningless. It is precisely that approach
              that the ABA has condemned. See ABA, Resolution
              and Report No. 103 (Feb. 6, 2012) (“U.S. courts have
              often misapplied the standard” set out in this Court’s
              decisions by ruling “that the needs of the proceeding
              before them inevitably must take precedence over
              the privacy and data protection concerns of other
              nations”). In the circumstances here, Rogers,
              Aérospatiale, and other decisions of this Court (see
              UAB Br. 23) categorically require deference to for-
              eign law.
                  3. Contrary to plaintiffs’ assertion (at 29-30),
              other circuits, citing Rogers, recognize that a party’s
              interest in discovery is outweighed when a foreign
              government insists that disclosure would violate its
              criminal laws. The Tenth Circuit in Westinghouse re-
              versed even the lesser sanction of contempt and a
              fine when disclosure would have violated Canadian
              criminal law. 563 F.2d 992. The Federal Circuit in
              Cochran Consulting set aside a sanction because the
              district court had ignored the “great weight” of
              “Swiss criminal law” that prohibited the disclosure.
              102 F.3d at 1228, 1230-1231. And the Seventh Cir-
              cuit in First National Bank stressed the “special
              weight” to be given to the risk of criminal sanctions
              by the foreign state. 699 F.2d at 345. Those circuits
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              would have decided this case differently. Plaintiffs’
              opposition cites not one appellate decision that
              upholds severe sanctions for failure to violate
              the criminal laws of another country.
                  4. As our Petition showed (at 16-22), comity
              decisions after Rogers confirm that U.S. courts must
              avoid sowing “international discord” when they
              adjudicate “clashes between our laws and those of
              other nations.” Kiobel, 133 S. Ct. at 1664. Severely
              punishing a foreign defendant for refusing to violate
              foreign criminal laws would have “adverse foreign
              policy consequences” that courts lack institutional
              capacity to gauge, and would interfere with the
              Executive’s and Congress’s authority to “manag[e]
              foreign affairs.” Sosa, 542 U.S. at 727-728.
                  Plaintiffs’ only response (at 22) is to point to the
              ATA’s extraterritorial reach. But nothing in the ATA
              authorizes draconian Rule 37 sanctions for obeying
              foreign criminal laws that protect the privacy of tens
              of thousands of foreign citizens, or allows courts to
              ignore the protests of sovereign nations whose laws
              would be trampled. In cases like this involving
              “private plaintiffs” with no concern for “foreign
              governmental sensibilities” or the national interest
              (Empagran, 542 U.S. at 171), these comity concerns
              are amplified and do not permit application of U.S.
              law “incompatib[ly] with the applicable laws of other
              countries.” Morrison, 130 S. Ct. at 2885.
                  There is nothing unjust about this result. This
              Court held in General Dynamics Corp. v. United
              States, 131 S. Ct. 1900, 1908-1910 (2011), that even
              in suits involving the U.S. government the parties
              should be “left where they are” when secrecy law
              precludes discovery and any judgment for the claim-
              ant “might represent an undeserved windfall.”
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              Plaintiffs here bear the burden of proof and should
              not be awarded a “windfall” judgment simply be-
              cause Arab Bank obeyed foreign privacy law.
                  C. The Sanctions Order Is Reviewable On
                     Mandamus Or Collateral Order Appeal.
                  Prompt review and reversal of the decision below
              will correct a “particularly injurious” and “conse-
              quential” ruling (Mohawk, 558 U.S. at 110-111) and
              provide “the necessary guidelines” for district courts
              (Schlagenhauf, 379 U.S. at 111-112), bringing this
              case squarely within this Court’s “supervisory”
              jurisdiction to review an important “discovery ques-
              tion.” 16 FEDERAL PRACTICE AND PROCEDURE
              § 3935.3, at 717; S. Ct. R. 10(a).
                  The petition does not present a “case-specific
              grievance,” as plaintiffs assert (at 14). It involves
              public policies of three governments, privacy inter-
              ests of tens of thousands of bank customers,
              important and recurring questions of international
              comity, and the obliteration of defenses critical to a
              fair trial. These are issues with repercussions far be-
              yond this case. Whether under mandamus or collat-
              eral order review (see UAB Br. 22-23), there must be
              a “safety valve” to enable prompt consideration of
              manifestly unjust orders in cases of such importance.
              Mohawk, 558 U.S. at 111.
                  1. Plaintiffs (at 18-19) argue against mandamus
              by contending that the district court did not commit
              “a clear abuse of discretion.” But “[a] district court by
              definition abuses its discretion when it makes an
              error of law.” Koon v. United States, 518 U.S. 81, 100
              (1996). Here, the district court erred as a matter of
              law by imposing severe sanctions for a foreign bank’s
              refusal to violate foreign criminal law, flouting inter-
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              national comity principles. Moreover, the require-
              ment that “any sanction must be ‘just’” is a “due
              process restrictio[n] on the court’s discretion.”
              Insurance Corp., 456 U.S. at 707.
                  2. Plaintiffs (at 25-26) deny that delaying appeal
              until after a final judgment would cause “irreparable
              harm.” But a final judgment is years away given the
              planned series of liability trials before damages are
              even addressed. As Jordan explains (at 17), a single
              adverse verdict risks “grave consequences in Jordan
              and elsewhere in the Middle East” because “no bank
              wants to do business with a bank labeled a
              terrorism-financier.” Plaintiffs say (at 27) that no
              “such consequences” flowed from “the original pro-
              duction order.” But the production order did not
              deem the Bank a terrorist accomplice. The sanctions
              will produce a show trial that brands the Bank as an
              international terrorist. Given the Bank’s vital role in
              the Middle East, a rigged trial threatens economic
              security throughout the region.
                   3. Plaintiffs incorrectly assert (at 31) that there
              is no “conflict in the circuits about interlocutory
              review” of sanctions like those imposed here. The
              Ninth Circuit twice has held that requiring a bank
              “to choose” between harsh punishment and “violating
              [foreign privacy] law” constitutes “severe prejudice
              that could not be remedied on direct appeal.” Credit
              Suisse, 130 F.3d at 1346; In re Philippine Nat’l Bank,
              397 F.3d 768, 774 (9th Cir. 2005). The Tenth Circuit
              found collateral order review appropriate on the
              same issue in Arthur Andersen, 570 F.2d at 1372.
              And the Seventh Circuit recently held mandamus
              appropriate in cases with “appreciable foreign policy
              consequences” and “astronomical” financial stakes
              (Abelesz v. OTP Bank, 692 F.3d 638, 651 (7th Cir.
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              2012)), an apt description of this case. The Second
              Circuit’s ruling conflicts with these authorities, as
              well as with this Court’s precedents. See UAB Br. 21-
              24. This Court should grant the petition to resolve
              this conflict over a frequently recurring issue of
              extraordinary importance to our civil justice system
              in a period of increasing cross-border litigation.
                                CONCLUSION
                 The petition for a writ of certiorari should be
              granted.
                  Respectfully submitted.

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